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           Exhibit 10
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                      IN THE UNITED STATES DISTRICT COURT

          FOR THE SOUTHERN DISTRICT OF TEXAS HOUSTON DIVISON



                                Civil Action No. 4:10-cv-4969

Environment Texas Citizen Lobby, Inc., and Sierra Club (Plaintiffs) v. ExxonMobil Corporation,
ExxonMobil Chemical Company, and ExxonMobil Refining and Supply Company (collectively
                                         “Exxon”)




                                     Hon. David Hittner

                                     U.S. District Judge



                                     EXPERT REPORT

                                             OF

                                DR. RANAJIT (RON) SAHU




                   _____________________________________________



                            ON BEHALF OF THE PLAINTIFFS




                                      MARCH 13, 2012
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                Information Required by the Federal Rules of Civil Procedure

The following is a list of the items required by the Federal Rules of Civil Procedure:

   1.   This report contains my opinions, conclusions and the reasons therefore;
   2.   I do not have any exhibits to be used in summary of, or support for, my opinions with this
           report other than what is provided with this report and other reports submitted in this
           action;
   3.   A statement of my qualifications is contained in Attachment A;
   4.   A list of publications I authored within the last ten years is shown in Attachment B;
   5.   My compensation for the preparation of this report and my testimony is included in
           Attachment C;
   6. A statement of my previous testimony within the preceding four years as an expert at trial
        or by deposition is contained in Attachment D; and
   7. Attachment E lists the information I considered in forming my opinions.
   8. Attachments F and G contain tables showing example events that I analyzed as well as
        ratios of steam to waste gas flow rates for selected events and times, respectively.
   9. Attachments H and I show events where flares were smoking or had pilot flame outages,
        respectively.

The opinions expressed in the report are my own and are based on the data and facts available to
me at the time of writing. Should additional relevant or pertinent information become available,
I reserve the right to supplement the discussion and findings in my report.
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I.     EXPERIENCE

I, Ranajit Sahu, have over twenty-one years of experience in the fields of environmental,
mechanical, and chemical engineering, including: program and project management
services; design and specification of pollution control equipment; soils and groundwater
remediation;   combustion     engineering    evaluations;   energy   studies;   multimedia
environmental regulatory compliance (involving statutes and regulations such as the
Federal CAA and its Amendments, Clean Water Act, TSCA, RCRA, CERCLA, SARA,
OSHA, NEPA as well as various related state statutes); transportation air quality impact
analysis; multimedia compliance audits; multimedia permitting (including air quality
NSR/PSD permitting, Title V permitting, NPDES permitting for industrial and storm
water discharges, RCRA permitting, etc.), multimedia/multi-pathway human health risk
assessments for toxics; air dispersion modeling; and regulatory strategy development and
support including negotiation of consent agreements and orders.

I have a B.S., M.S., and Ph.D. in Mechanical Engineering, the first from the Indian
Institute of Technology (Kharagpur, India) and the latter two from the California Institute
of Technology (Caltech) in Pasadena, California. My research specialization was in the
combustion of coal and, among other things, understanding air pollution aspects of coal
combustion in power plants.

I have over nineteen years of project management experience and have successfully
managed and executed numerous projects in this time period. This includes basic and
applied research projects, design projects, regulatory compliance projects, permitting
projects, energy studies, risk assessment projects, and projects involving the
communication of environmental data and information to the public.

I have provided consulting services to numerous private sector, public sector, and public
interest group clients. My major clients over the past eighteen years include various steel
mills, petroleum refineries, cement companies, aerospace companies, power generation
facilities, lawn and garden equipment manufacturers, spa manufacturers, chemical
distribution facilities, and various entities in the public sector including the US EPA, the


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states of New York, New Jersey, New Mexico, Pennsylvania, the US Dept. of Justice,
California DTSC, various municipalities, etc.). I have performed projects in 48 US
states, numerous local jurisdictions, and internationally.

In addition to consulting, I have taught numerous courses in several Southern California
universities, including UCLA (air pollution), UC Riverside (air pollution, process hazard
analysis), and Loyola Marymount University (air pollution, risk assessment, hazardous
waste management) for the past eighteen years. In this time period I have also taught at
Caltech, my alma mater, at USC (air pollution) and at Cal State Fullerton (transportation
and air quality).

I have and continue to provide expert witness services in a number of environmental
areas discussed above in both state and Federal courts as well as before administrative
bodies.

Additional details regarding my background and experience can be found in my resume
provided in Attachment A and in the list of publications and presentations provided in
Attachment B. Attachments C and D contain a statement of compensation and my
previous expert witness experience, respectively.




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II.      SUMMARY OF REPORT

For this proceeding, I have been asked to provide opinions and a report, based on my
educational experience, my training, as well as my work experience as a consultant and
practitioner, that addresses the following items:

      1. Are the quantities of emissions of various air pollutants estimated by Exxon to
         have been emitted by various flares 1 located at its highly-integrated Baytown,
         Texas, Complex 2 during each of the upsets that occurred during the times of
         interest in this matter, likely to be accurate?

      2. Are all likely pollutants that could be emitted from the flares during the various
         events in question accounted for?

      3. Are    the   impacts     (i.e..,   the   estimated     ground-level      concentrations      in
         micrograms/cubic meter) of the flare emissions as modeled in various instances
         by Exxon’s consultant, SAGE Environmental Consulting (“SAGE”), likely to be
         accurate?

      4. Are there measures that Exxon can take, or could have taken, to minimize or
         reduce pollutant emissions from flares?

Based on my review of the materials associated with the case provided to me by counsel
at my request; my personal observations and information gained during a site inspection
of the Baytown refinery and chemical plant on February 28, 2012 (the olefins plant was
not included in the inspection tour because of work going on at that facility); my
familiarity and review of relevant agency guidance; my knowledge of combustion
processes acquired over the last 29 years; my familiarity with refinery processes and
operations; and my familiarity with the flares from which the vast majority of emissions

1
  Although emissions of various pollutants occurred from other sources besides flares during the specific
events that are the subject of this matter, I have focused specifically on flare emissions in my report.
2
  The Complex consists of a Refinery, a Chemicals Plant and an Olefins Plant, all of which are tightly
integrated in terms of materials, intermediates, and utilities. Currently, 5 Federal Title V Operating
Permits, issued by the Texas Commission on Environmental Quality (TCEQ) contain air quality conditions
for the operation of the Complex.

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in the matter at hand occurred, it is my opinion that the answers to the first three
questions posed above is No. And, the answer to the last question posed above is Yes.

It is my opinion that the actual quantity of pollutant emissions for the events in question,
even for those pollutants that Exxon did consider, have been underestimated by Exxon.
As a related matter, it is my opinion that there are likely numerous other events that
should have been publicly reported but were not, because estimated emissions were
below reporting thresholds, since Exxon’s emissions calculation approach is
underestimating actual emissions from the flares.

It is my opinion that there is no question that Exxon did not consider numerous other
pollutants that could be emitted by the flares during the events in question.

It is my opinion that the modeled impacts associated with the flare emissions in question
are also incorrect and have also been underestimated. It is my opinion that actual
emissions and their impacts could be significantly greater that what has been estimated
by Exxon and its consultants.

It is my opinion that Exxon can take many actions in order to significantly reduce its
flaring and resultant emissions, for both routine and non-routine events.          Multiple
refineries operating in California, including an Exxon refinery, have demonstrated that
flaring events and emissions can be significantly reduced by following a systematic
approach embodied in a dynamic flare management plan. Beginning with a thorough
understanding of the root cause of every event, and then implementing actions to
eliminate/minimize such causes in the future, flaring can be reduced considerably.
Action will likely involve capital investments such as adding flare gas recovery systems,
including compressors, adding spare capacity to existing systems and compressors, and
improving operational practices, maintenance procedures, and training. By doing these,
flaring can be reduced and each flare can go back to fulfilling its intended purpose: i.e.,
acting as a safety device as opposed to masquerading as an unreliable and uncertain air
pollution control device.




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III.       BACKGROUND

Pursuant to regulations and its various operating permits, Exxon reports unauthorized emissions
of various pollutants from upset events at the Baytown Complex. If, based on calculations that it
does using data obtained from process conditions, the calculated emissions of various pollutants
during these events are greater than reporting thresholds, then such events are reported to the
TCEQ State of Texas Environmental Electronic Reporting System (STEERS). 3                   Initial
Notification and Final Reports for various events are provided to TCEQ. TCEQ occasionally
requires Exxon to conduct air dispersion modeling to assess the impact of these emissions
releases on ambient air quality (i.e., by calculating the expected concentrations of various
pollutants) just outside the Complex (i.e., at the fenceline) where public exposures can occur.
Once pollutant concentrations are determined using a dispersion model, Exxon’s consultant
compares the model-predicted concentrations with standards such as the National Ambient Air
Quality Standard (NAAQS), the Texas Effects Screening Levels (ESLs), etc., depending on the
pollutant (I refer to the reports of these modeling exercises as “SAGE reports,” named after the
consulting firm which has conducted the modeling demonstrations that I have reviewed). If
background concentrations for the pollutant are available, they are included in this assessment –
i.e., the concentrations resulting from the event are added to the background concentrations in
the ambient air, before a comparison is made to the appropriate standard.

I have reviewed numerous STEERS and SAGE Reports as part of developing my opinions in this
report. Attachment F shows examples of such events, along with details such as which part of
the Complex the event took place at (i.e., refinery, chemical plant or olefins plant), the specific
flares that were involved in the event, and the Exxon-estimated emissions of various pollutants
that were emitted during the event. These are examples only, and are provided for illustrative
purposes only.




3
    https://www6.tceq.texas.gov/steers/

                                                5
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In many (but not all) instances, these unauthorized emissions are due to releases solely from the
various flare systems operating at the Complex.4 In other instances, emissions occur from flares
as well as other emission points. My report will only focus on flare emissions.

All flares discussed in this report are elevated, open flares. Basically, each flare consists of
piping that feeds the waste gases (i.e., the gases to be flared) to the top of the flare structure
(typically a derrick or similar structure) where they are ignited by a pilot flame. The pilot flame,
which should always be present, is generally supported by natural gas. In addition, all but one of
the flares in question have “steam-assist” – i.e., steam is provided at the flare tip in order to avoid
smoking conditions.

The figure below shows a schematic diagram of a refinery flare system, 5 along with how flare
gases are ordinarily routed to the refinery fuel gas system via flare gas recovery compressors.
Routing waste gases to, and maximizing their use in, the refinery fuel gas system can reduce
flaring and also minimize the need for purchased fuel gas.




4
  Other release points can include process piping, compressor seals, fugitive emissions from valves etc. In this
report, I focus only on flare releases.
5
  Taken from Flare Minimization Plan, Chevron Products Company, Richmond, CA, Updated October 1, 2010.
Available at http://www.baaqmd.gov/Divisions/Compliance-and-Enforcement/Refinery-Flare-Monitoring/Flare-
Minimization.aspx

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Figure 1-2 below shows an example of a flare tip (from Flare #4 at the Baytown Complex). This
flare has three pilot flames, one of which is shown in the cross-section (to the left) below. Also
shown is the steam header to the top right. As shown in the figure, this flare diameter is 2 feet or
24 inches.




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                         Figure 1-2 – Typical Flare Tip Diagram (Elevation) 6

Figure 1-3 below shows the top or plan view of the same Flare #4 depicted above (in Figure 1-2).
The three pilots can be seen and the various steam injection ports can also be seen in this figure.




                                Figure 1-3 – Typical Flare Plan View 7

Since flares are basically large Bunsen burners with open flames, they cannot be directly
monitored for emissions, as opposed to exhaust stacks from combustion heaters or boilers, where

6
    See EOMCS00000004.
7
    See EOMCS00000004.

                                                  9
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Continuous Emissions Monitors (CEMS) for various gases such as CO, NOx, SO2, VOCs, CO2,
O2, HCl, etc., can be located.

Flares can “destroy” some portion of certain pollutants, such as hydrocarbons and sulfur-
containing compounds. In this context, “destruction” means that the chemicals in question are
converted to other forms that are then emitted into the atmosphere.               For example, if a
hydrocarbon were fully combusted in the flare (but it is important to note that, in reality, there is
no possibility of such complete combustion at a flare or, for that matter, in any combustion
device), the products of such complete combustion would be water vapor and carbon dioxide. In
practice, as I will discuss later, flare combustion is a messy process that invariably creates and
emits numerous other species of pollutants (I will refer to these as “products of incomplete
combustion,” or “PIC”).       For example, oxides of nitrogen (NOx), are created during the
combustion process in the flares. So is carbon monoxide (CO). Sulfur compounds, such as
hydrogen sulfide (H2S) can be oxidized into forms such as sulfur dioxide (SO2) and sulfur
trioxide (SO3). The latter can combine with water vapor to form various acids such as sulfuric
acid mist (H2SO4).

To describe “destruction” of pollutants in the flares, Exxon uses the term “control efficiency” or
CE, which I will also use for the sake of consistency. Basically, for a pollutant that is disposed
of via the flare and which is likely to be combusted (such as any hydrocarbon or H2S), the
control efficiency simply refers to the fraction of the input mass of the pollutant that is destroyed
or converted in the flare. Thus, unless the control efficiency is 100% (or CE=1), some fraction
of the input mass is not destroyed and this 1-minus- CE fraction of the input mass is emitted to
the atmosphere. Thus, if control efficiency is 95% (or CE = 0.95), then 5% of the input mass (1
– 0.95 = 0.05) is emitted to the atmosphere (along with any PICs). Of course, CE is only
relevant for pollutants that are sent to a flare. It is not relevant for pollutants that are created in
the flare itself.

There are five different flare systems (each consisting of several individual flares) supporting the
Refinery, the Chemical Plant, and the Olefins Plant in the Complex. The Title V permits list
these flares. Briefly, flares 3, 4, 5, 6, 11, 14, 15, 16, 17, 18, 19, 20, 21, 22, 25, 26, 27 and 29 are



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located at the Refinery. 8 Flares 9, 23, 24, and 28 are located at the Chemical Plant. 9 Flare 12 is
located at the Butyl unit. 10 And, the Olefins Plant contains the Primary (Base), Secondary, and
BOPX flares. 11 All of these flares are elevated (i.e., the flare itself is located several hundred
feet above ground), and (with the apparent exception of Flare 28) are steam assisted. As shown
in the example figures earlier, in a steam assisted flare, the exhaust or waste gases are
commingled with steam, which is used to entrain air into the waste gases in order to allow for
“smokeless” combustion. Steam is also used to cool the flare tips and other metal surfaces from
the intense heat and radiation at the flare. Exxon provided steam and waste flow gas rates
associated with these flares for the events in question and I have reviewed those. 12 I will discuss
that later.

The table below shows the height, diameter (where available) and number of pilots for the
various flares present at the Complex.


                                                                                             INSIDE TIP
                                                                     HEIGHT        # OF      DIAMETER
    Location                 Flare Description           Flare #      (FT)        PILOTS      (IN or FT)
    Refinery   FLARE STACK 19 (FNCC)                     FL19           280          3          20 in
    Refinery   FLARE STACK 20                            FL20           280          3         4 ft 8 in
    Refinery   PS8                                       FL21           280          4           4 ft
    Refinery   FLARE STACK 22 (FNCC)                     FL22           280          3           20 in
    Refinery   FLARE STACK 25 (FXK)                      FL25           280          3         2 ft 6 in
    Refinery   F.X.K. TO FLARE                           FL26           50           2         4 ft 8 in
    Refinery   FLARE STACK 27 (PS7)                      FL27           280          3           3 ft
    Refinery   FCCU2                                     FL3            252          3           2 ft
    Refinery   FLARE STACK 05 (WLFS)                     FL5            248          3           2 ft
    Refinery   FLARE STACK 06 (WLFS)                     FL6            248          3           2 ft
    Refinery   ALKY. TO W.L.F.S.                         FLARE04        290          3           2 ft
    Olefins    BAYTOWN OLEFINS PLANT                     FLARE1         393          4           2 ft
    Refinery   FCCU3                                     FLARE11        304          3           2 ft
    Refinery   FCCU3                                     FLARE14        304          3           2 ft
    Refinery   M.E.K. TO E.L.F.S.                        FLARE15        315          3         2 ft 6 in
    Refinery   D.A.U. TO E.L.F.S.                        FLARE16        315          3         2 ft 6 in


8
  See EOMCS00001726-EOMCS00001727
9
  See EOMCS00001216
10
   See EOMCS00001031
11
   See EOMCS00000959, EOMCS00000961, and EOMCS0000964.
12
   With respect to Flares 12, 19, and 22, I did not receive such data until March 7, 2012 (it is my understanding
Plaintiffs’ counsel did not receive it until March 6, 2012) and I have not had a chance to fully review it before
finalizing this report. I reserve the right to supplement my report with information obtained from this additional
data.

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 Refinery    PS8                                     FLARE17    280         3          2 ft
 Refinery    FLARE STACK 18 (FNCC)                   FLARE18    280         4          4 ft
 Olefins     ETHYLENE PLANT FLARE                    FLARE2     415         4          2 ft
 Olefins     BAYTOWN OLEFINS PLANT EXPANSION         FLAREX     400         4          2 ft
 Chemicals   FLARE STACK 09                          FS09       190         3          1 ft
             BAYTOWN POLYMERS CENTER FLARE
 Chemicals   LOSSES                                  FS12       199         3          1 ft
 Chemicals   FLARE STACK 23                          FS23       451         3          1 ft
 Chemicals   PROCESSES ROUTED TO FS09, FS23, FS24    FS24       400         3          1 ft
 Chemicals   SYNGAS UNIT FLARE # 28                  FS28       305         3          1 ft


As can be seen, the flare heights can vary considerably, ranging from 50 ft. to over 450 ft.
Diameters range from 1 ft. to over 4 ft.

When unauthorized emissions occur at a flare, Exxon estimates the emissions of various
pollutants to the atmosphere in a two step process. First, it estimates the hourly quantities (in
lb/hr) of a given pollutant that are sent (i.e., input) to the flare in question. These “input” masses
are, in turn, estimated using: data on pollutant concentrations in the waste gases, which are
either periodically sampled or estimated based on process knowledge; and the flow rate of the
waste gases along with the gas temperature and other parameters.         In the second step, Exxon
assumes that all of these “input” masses of pollutants to the flare are destroyed by the flare with a
certain rate of efficiency – the control efficiency or CE referred to earlier. For all of the
hydrocarbon pollutants in the waste gas, Exxon assumes that the CE is 98 or 99% – i.e., the flare
destroys 98 or 99% of the mass of these pollutants. This same assumption is used for all flares
and for all emission events. Exxon also assumes that all incoming sulfur compounds, such as
H2S, are “destroyed” – i.e., converted to SO2 – at a rate of 98%. Thus, the remaining 1% or 2%
of the pollutant mass in the incoming waste gas (i.e., the “1 minus CE” fraction) is assumed to be
released to the atmosphere. It is this 1% or 2% of input that is reported in the STEERS reports as
the amount released to the atmosphere (as long as it exceeds a reportable threshold quantity) and
it is this 1% or 2% figure that is modeled by SAGE in order to determine if the release event can
cause an adverse impact outside the Complex.

As I have noted above, I have reviewed numerous STEERS reports, TCEQ investigation reports,
and corresponding SAGE reports for events that occurred during the time of interest in the
present matter involving flare releases at the Refinery, the Chemical Plant and the Olefins Plant
in the Complex. Based on the review of these documents, as well as related documents (such as

                                                    12
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Exxon’s Notifications to the TCEQ, its emission calculations, associated TCEQ investigation
reports, Exxon’s responses to information requests from TCEQ, and correspondence), and the
SAGE reports (where available), I can state the following as generally true:

(a) the root cause analyses by Exxon of most of these “upset” events generally point to avoidable
causes such as poor equipment design, poor maintenance, or inadequate inspection, etc.
However, in this report, I am not providing opinions on the causes of such events;

(b) the calculation of the quantities of the various pollutants, whether conducted by Exxon or by
SAGE, are not reproducible since almost all of the required basic data, such as underlying
periodic flow rates, temperatures, gas flow compositions, etc., are not provided in the reports.
Generally, only the summary results of the calculations for each event (typically, the total
lb/event of each pollutant) are provided, from each emission point, such as from each flare. As
examples, see the STEERS information summarized in Attachment F;

(c) it is not clear to me how TCEQ could have verified the accuracy of the calculated/reported
emissions for any of the events without the underlying process data;

(d) as mentioned earlier, Exxon has uniformly used either 98% or 99% (for a subset of the more
reactive hydrocarbon pollutants) as the CE for all flares, at all times, for all events. TCEQ has
never, to my knowledge, questioned this fundamental and critical assumption;

(e) Exxon has never estimated nor included numerous pollutants (PICs) that can be created by
the flares in any of the reports. While it has estimated emissions of some PICs, such as CO and
NOx, it has not done so for many others known to be created in refinery and chemical plant
flares. As I will briefly discuss later, burning hydrocarbons in any combustion system (including
in the most controlled circumstances) can create numerous additional PIC compounds, typically
toxic air pollutants. This is so because of the complex nature of the combustion process itself.
Flares, as I will also discuss later, are far from controlled combustors. Thus, they can and do
create numerous additional compounds.         Exxon has never quantified nor included these
additional compounds. To the extent it has not, emissions reported by Exxon are under-reported
based on this fact alone;



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(f) Exxon has never directly measured or attempted to measure, by any technique, the emissions
of various pollutants from any of its flares or the CE of any of its flares. 13 Instead, as explained
by Exxon, “ExxonMobil applies current and relevant agency guidance on estimating flare
emissions, including TCEQ's guidance document entitled ‘Air Permit Technical Guidance for
Chemical Sources: Flares and Vapor Oxidizers RG-l09’. Several studies have demonstrated high
efficiency of properly designed and operated industrial flares. Most flare studies refer to two
landmark programs: the 1982-1986 EPA/CMA/EER program and the 1996-2004 University of
Alberta program. The Texas Commission on Environmental Quality ("TCEQ") is currently
sponsoring and conducting several additional studies regarding flare efficiency.” 14 I specifically
note the condition “properly designed and operated” referred to by Exxon;

(g) the dispersion modeling conducted by SAGE includes as a critical input the various pollutant
emission rates calculated by Exxon (or SAGE) as discussed above.                          Thus, any errors or
uncertainty or omissions in the emission rate estimates will directly affect the results of the
modeling analysis, even assuming that all of the other modeling assumptions by SAGE are
correct;

(h) the SAGE modeling analysis uses, in every instance (i.e., for each event for which SAGE
conducted modeling) inappropriate flare characteristics such as the flare exit velocity and
temperature – which will affect the dispersion characteristics of the exhaust from the plume, and
resultant ambient impact concentrations.               Although SAGE relies on TCEQ (or agency
predecessor TNRCC) guidance for such assumptions, such reliance is inappropriate, as I will
discuss later;

(i) in most instances, especially for the numerous toxic compounds that are emitted by the flares,
the impacts analysis assumes that background concentrations of such compounds is zero – not
because this is true or likely to be true, but because no background measurements are available.


13
   See Defs. Objections and Answers to Plaintiffs First Set of Interrogatories. In response to Interrogatory No. 2,
which was “Describe the basic methodology and the results of any on-site studies, tests or monitoring that have been
conducted to determine the combustion efficiency (also known as "destruction efficiency") of the Baytown
Complex's flares, including the dates of such studies, tests or monitoring.” Exxon’s response was “….ExxonMobil
responds that ExxonMobil has performed no on-site studies, tests or monitoring of the Baytown Complex's flare
combustion efficiency.”
14
   Ibid.

                                                        14
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Collectively, the facts above render meaningless any attempt by Exxon to conclude, which it
does for each event, that the impacts of emissions due to the event are not significant. To the
contrary, as I will discuss below, given the significant shortcomings of its emission calculations
and dispersion modeling assumptions, it is simply impossible to conclude that Exxon’s impacts
assessment is correct, or even “conservative” as it repeatedly asserts. It is more likely that actual
unauthorized emissions from the flares during these reportable events is much greater than what
Exxon has estimated. For this reason alone, predicted impacts are likely to be significantly
greater than what Exxon or SAGE have estimated.

In terms of detail, I will focus on three areas below:

First, I will discuss whether or not the flare control efficiency is likely to be 98 or 99%, as Exxon
has assumed. Second, I will provide a brief discussion to support the well-known fact that PICs
are inherently produced by all combustion systems, including flares, and by omitting them
Exxon has under-predicted emissions from these events.           Lastly, I will show why certain
modeling assumptions by SAGE are inappropriate.




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IV       FLARES, CONTROL EFFICIENCY, AND EMISSIONS

Flares, particularly the type at issue here (namely, open flares), are not emission control devices.
Their primary purpose has always been to be a safety device so that, if necessary, large quantities
of process gases can be rapidly and safely vented, thereby protecting process equipment from
hazards such as explosions.

Since they have flames, however, they can “destroy” hydrocarbon compounds if present in the
flared gas and they can convert (i.e., oxidize) sulfur compounds into sulfur dioxide and other
compounds. However, the key question is not whether such conversion/oxidation can occur.
Rather, the key question is to what extent can flares reliably and consistently maintain a
particular control efficiency, such as the 98% or 99% assumed by Exxon.

That Exxon has assumed these efficiencies in its calculations is evident from the following
examples, which are representative of Exxon’s practice over the time period and events I have
examined.

For the event with the STEERS tracking number 134509 at the refinery, Exxon provides the
following in support of its emission calculations: 15




For event #126041 at the refinery, Exxon provides the following in its emission calculations: 16



15
     EOMCS00025921
16
     EOMCS00024773

                                                 16
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For event #101998 at the Olefins plant, Exxon provides the following as support for its emission
calculations: 17




The table shows control efficiency of 99% (for the highly reactive VOCs) or 98% (for the other
compounds). However, it is not clear what the “weight percent in the stream” column refers to
since the event took place over 3 days. What does this average mean when actual flows and
concentrations are likely to have fluctuations, and CE depends on the instantaneous values of
these parameters?


17
     EOMCS00008576 (Flare 1) and also similar table for Flare 2 at EOMCS00008777.


                                                      17
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In connection with event #69875 at the Olefins plant, Exxon notes that: 18




It is important to note at the outset here that relatively small changes in flare control efficiency
can have dramatic impacts on emissions to the atmosphere. This is best illustrated via an
example. Let us assume that 100 pounds per hour (lb/hr) of a given pollutant are sent to the flare
system. Let us consider how the emissions to the atmosphere of this pollutant are affected when
there is a change in the control efficiency of the flare from 98% to, say, 97%. When the flare
efficiency is 98%, that means that 98% of the pollutant mass is combusted and only 2%, or 2
lb/hr in our example, of the pollutant are emitted. But when the flare efficiency drops to 97%,
the emissions to the atmosphere are now 3 lb/hr. Thus, a drop in the efficiency of the flare from
98% to 97% causes the emissions to the atmosphere to increase from 2 lb/hr to 3 lb/hr – a 50%
increase. Thus, what seems, at first glance, to be a relatively small reduction in flare control
efficiency has, in fact, a dramatic impact on the emissions to the atmosphere. In the same
example, if the flare efficiency were to drop from 98% to 93%, the emissions to the atmosphere
increase from 2 lb/hr to 7 lb/hr, an increase of 5 lb/hr or 250%. When tens or hundreds of
thousands of pounds of emissions are at stake, as is the case in many of Exxon’s emission events,
even the slightest reductions in flare efficiency will have dramatic consequences for actual
emissions.

The issue of control efficiency of open flares, whether steam assisted or not, has been studied by
various researchers in the last three or so decades. While many of these studies, all of which
have been, of necessity, conducted in smaller, controllable, pilot-type settings, have
demonstrated that high control efficiencies can be achieved by flares, none of them have
demonstrated that it is possible to consistently maintain the conditions that would be required in
order to maintain the control efficiency at some specified threshold such as 98% or 99%.

The 98% control efficiency value is typically relied on by flare operators because it happens to
be part of various regulations. 19 Yet, these regulations do not fully capture the complexity of

18
     EOMCS00007070

                                                18
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actual flare operating conditions; and, in many instances, they are conditional. Thus, one cannot
simply assume a certain, high control efficiency, without also carefully considering the operating
conditions of the flare. Even Exxon, in its Interrogatory Response, recognizes the need for
“properly designed and operated” flares.

More fundamentally, destruction of hydrocarbons in combustion systems requires three critical
factors (often referred to as the “three Ts” of combustion): a minimum specified temperature,
residence time at temperatures greater than this minimum specified temperature, and turbulence,
which increases the residence time. 20 Properly designed combustion control systems can achieve
very high control efficiencies as long as they can be designed to maintain the minimum
temperature and the required residence time (the length of time the compound remains in the
presence of the required temperature), both of which are compound-specific. Basically, the
longer the residence time and the higher the temperature, the greater the ability to achieve higher
destruction or control efficiency. Again, I must emphasize that destruction or control efficiency
is pollutant- or compound-specific:            different pollutants require different temperature and
residence times for destruction.

Theoretical models that correlate control efficiency, residence time, and temperature are
available. For example, one well known text notes, “Lee and coworkers, in two studies [citations
omitted], conducted experiments on several VOCs and proposed a purely statistical model to
predict the temperatures required to give various levels of destruction…. Their model depends
on a number of properties of the VOC, the most important of which are the autoignition
temperature, the residence time, and the ratio of hydrogen to carbon atoms in the molecule.” 21
Discussion provided in this reference book confirms that residence time (in a temperature zone


19
   Specifically, flares operated consistent with regulations at 40 CFR 60.18 may assume a 98% combustion
efficiency. However, there is little technical justification for this regulation. The 98% value is based on AP-42
Section 13.5, Flares, which in turn is based on a 1983 EPA study. An extensive body of experimental studies on
flare combustion efficiency has been developed over the past two decades. Based on these studies, it was generally
assumed that flares operate with high efficiency—98% and higher. However, these 98%+ control efficiencies were
measured at flares burning dry, high heat-content hydrocarbon gases, under low to moderate wind conditions. See
Castiñeira, supra note 100, at ch. 1 (see literature review) available at
http://www.lib.utexas.edu/etd/d/2006/castineirad34242/castineirad34242.pdf. These ideal conditions rarely exist at
refineries.
20
   See, for example, Baukal, Charles E., et. al, The John Zink Combustion Handbook, Section 11.2, p. 352.
21
   Cooper C. David and F. C. Alley, Air Pollution Control – A Design Approach, Second Edition, Waveland Press,
p. 345-346.

                                                       19
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that exceeds a particular threshold temperature), among other parameters, is a key input that
determines destruction efficiency. It also notes that, for a given temperature and residence time,
destruction efficiency will vary by pollutant.

The problem is that, for open flares, one cannot be certain as to (1) the spatial and temporal
temperature-field at the flare, or (2) the residence time that a specific compound experiences.
This is because both of these factors depend on numerous additional factors, including the
geometry of the flare tip, the manner in which the flare’s waste gas is introduced, the manner in
which the steam assist gas is introduced, the location of the pilot flame, the flow rates of the
waste gases and the steam assist, the manner in which the steam and waste gas streams mix, the
respective temperatures of the waste and steam assist streams, the chemical composition of the
waste gas (since that will determine the amount of heat released by the flame), the local pressure
field in the open flare, the location and fluctuation of the flame(s), the cross-wind velocity and
direction and its fluctuation over time, and many other factors.                  In other words, one cannot
depend on a particular minimum residence time and nor can one rely on a defined temperature
field in the combustion zone, since both will vary based on all of these parameters and many
others.

Thus, control efficiency will vary – and vary considerably. It is for this reason that flares cannot
be considered to be pollution control devices, where one can rely on achieving a required
minimum control efficiency at all times. Any “control” achieved in a flare is purely a co-benefit
or incidental to the primary purpose of it being a safety device.

Making the problem even more complex, actual operating flares are difficult to directly test.
Thus, real-world confirmation of control efficiency has, to date, not been possible even under
limited circumstances. 22 Thus, all surrogate approaches to testing, such as smaller controlled


22
   See “Emissions from Elevated Flares – A Survey of the Literature,” by P. Gogolek, A.Caverly R. Schwartz,
CanmetENERGY- Ottawa John Zink Company LLC, J. Seebold J. Pohl, Consultant Energy International, prepared
for the International Flaring Consortium, April 2010. “There are numerous difficulties in taking measurements from
operating industrial flares. These include very high stacks (100 m or more), dangerous heat radiation to personnel
and varying flame position due to changing flare gas flow rates and wind speed. The measurements on an operating
flare give sparse coverage of the range of possible operating conditions and makes scientific conclusions difficult.
This requires measurements to be taken on pilot-scale flares with controlled operating conditions or using remote
sensing technology.” However, such confirmation has, to date, not been possible with remote sensing technologies
such as Differential Adsorption LIDAR (DIAL) and other similar approaches.

                                                        20
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experimental settings and indirect measurements, raise a host of other issues, including
representativeness to actual flares. Even so, these studies do point out the sensitivity of various
operating parameters, such as the need to maintain flame stability, that can directly affect control
efficiency. And, over the years, some of these studies have resulted in the development of
certain rules of thumb (such as the proper ratios of steam to assist gas, or minimum heating
values, or specific velocities of the exhaust gases, minimum hydrogen content of the flare gas,
etc.) as potential surrogates for actual, measured control efficiency. I stress that none of these
surrogates has been demonstrated to be fully effective in predicting control efficiency. Yet they
are used because there are no other better options.

Numerous recent studies do, however, call into question the uniform application of 98%
combustion efficiency. Flare performance is impacted by operating parameters that were not
specifically evaluated in the earlier studies, including: meteorological conditions, variable waste
gas flow rate and composition, flare physical design, general maintenance, and steam and air
assist operation. 23 Liquid droplets, low gas heating values, high crosswinds, and too much steam
or air injection can all reduce the efficiency of flares, resulting in significant emissions. Thus, the
constant 98% combustion efficiency is not reliable across the full range of real-life flare
operating conditions. Much lower flare combustion efficiencies due to these factors have been
confirmed in simulations, wind tunnel experiments, 24 and full-scale field investigations. These
factors typically cannot be controlled during flaring emergencies like the various events at issue
in this case.

First, let us consider crosswind velocity. Wind cannot be controlled by the operator and has a
major effect on combustion efficiency above 5 - 7 mph. 25 I have evaluated wind speed data for
the various dates that the example events shown in Attachment F occurred. Wind speeds, even at
the surface, were in most cases greater than 5-7 mph. Of course, since most of the flares from

23
   Tex Comm’n Envtl. Quality, Flare Task Force Draft Report 6 (Sept. 3, 2009).
24
   118 David Castiñeira, Modeling and Control of Flare Combustion Systems (unpublished powerpoint presentation,
University of Texas, Austin), available at
http://www.che.utexas.edu/twccc/presentations0206/castineira-talk0206.pdf.
25
   U.S. Envt’l Prot. Agency, VOC Fugitive Losses: New Monitors, Emissions Losses, and Potential Policy
Gaps, ix, 24, 40 (Oct 25-27, 2006), available at
http://www.epa.gov/ttn/chief/efpac/documents/wrkshop_fugvocemissions.pdf ("When the wind speed is greater
than five miles per hour, flare efficiency drops significantly. The emission factor for flare estimation is based on a
flare operating in still air conditions, hence it is likely to underestimate emissions.")

                                                         21
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which emissions occurred are several hundred feet tall, and wind speed increases rapidly with
height above ground surface, actual wind speeds at the flare height are considerably greater. 26
Combustion efficiency is reduced as high cross wind velocities bend the flame over, allowing
significant amounts of fuel to be stripped away from the burner exit. High wind velocity also
reduces flame size, which reduces the amount of oxygen entrained into the flame; that allows
burning in detached pockets over the tail flame length. These factors reduce combustion
efficiency. 27    Thus, wind is a critical factor to account for when determining combustion
efficiency. Yet, there is no discussion of wind speeds in Exxon’s calculations, where 98% has
been assumed to be the minimum control efficiency under all conditions, at all flares, for all
events.

Second, consider exit gas velocity. Other work indicates that higher exit gas velocity may lead
the flame to near blowoff conditions 28 and even to complete extinction of the flame if the gas
velocity gets too high. Others have likewise concluded that for high-momentum flares, those
with high gas-to-crosswind ratios, the flame is unlikely to attach to the stack, lowering
combustion efficiencies. 29 Yet, Exxon’s calculations do not include any calculations for stack
exit velocity, which could be developed from process data and flare geometry. 30

Third, consider the ratio of steam to waste gas. Studies in the 1980s "demonstrated that assist
gas to waste gas mass ratios between 0.4 and 4 were effective in reducing soot while ratios
between 0.2 and 0.6 achieved the highest hydrocarbon destruction efficiency." 31 While noting
that the “highest hydrocarbon destruction efficiency” referred to may still be below 98%, it is


26
   Milton R. Beychok, Fundamentals of Stack Gas Dispersion, 100 (3rd ed. 1994).
27
   See, e.g., M.R. Johnson & L.W. Kostiuk, Efficiencies of Low-Momentum Jet Diffusion Flames in Crosswinds,
123 Combustion and Flame 189, 199 (2000) ("Results show that increased crosswind speed () adversely affect the
combustion efficiency...Gas chromatographic analysis of the products of combustion showed that the inefficiencies
result from fuel stripping, and photographic images link this process to the occurrence of the flame burning in
detached pockets over its full length and the shortening of the flame tail.").
28
   By “blow-off” I mean conditions that cause the flame to detach from the flare-tip and to tend towards extinction.
29
    David Castiñeira and Thomas F. Edgar, Computational Fluid Dynamics for Simulation of Wind-Tunnel
Experiments on Flare Combustion Systems, 22 Energy & Fuels 1706 (2008).
30
   I note that the SAGE modeling for every event assumes a default velocity of 20 meters/sec, relying improperly on
a regulatory default value. Clearly, actual exit velocities cannot be constant over time, even for a single flare, given
the varying steam and waste gas flow rates and compositions, much less constant for all flares for all events, as
SAGE has assumed.
31
   EPA 1983 Flare Study, as discussed in Reducing Flare Emissions from Chemical Plants and Refineries - An
Analysis of Industrial Flares' Contribution to the Gulf Coast Region's Air Pollution Problem, May 23, 2005, Industry
Professionals for Clean Air, p.4.

                                                          22
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clear that too much assist gas (over-steaming or over-aerating) "may ... reduce the overall
combustion efficiency by cooling the flame to below optimum temperatures for destruction of
some waste gas constituents, and in severe cases may even snuff the flame, thus significantly
reducing combustion efficiency and significantly increasing flare exhaust gas emissions.” The
EPA 1983 Flare Study noted: "Combustion efficiencies were observed to decline under
conditions of excessive steam (steam quenching) and high exit velocities of low Btu gases. 32
Exxon provided steam and waste gas flow rates for the flares associated with the events in
question. For some of the example events in Attachment F, I have investigated how these ratios
varied during specific events, at specific flares. Attachment G shows the analysis (note that
Attachment G is not an exhaustive analysis of the ratios, since all of the data was provided in
non-native file format, requiring resource-intensive analysis). As seen in Attachment G, in
numerous instances, at various flares, the steam to waste gas ratio was considerably higher (and
in a few cases, considerably lower) than the 0.2-0.6 ratio which would provide the highest CE. It
is my opinion that the control efficiency of the flares under the very high steam assist to waste
gas ratios would be very low. Overwhelming amounts of steam along with small quantities of
waste gas would simply result in very low temperatures or possibly outright flame-quenching,
thus providing no control (in other words, a CE of 0%). Prior studies have indicated that control
efficiencies drop dramatically as this ratio increases – for example, it is less than 70% when the
ratio is around 6 or 7. 33 During periods when CE is only 70%, actual emissions of pollutants
such as H2S and VOCs would be 35 times greater than amounts reported by Exxon using an
assumption of 98% efficiency. And, control efficiency would be lower still for some of the
steam to gas ratios shown in Attachment G, which are much greater than 7.

Further, in instances where a flare is operated in smoking conditions or there are flame outages,
as reported by Exxon in numerous instances, the control efficiency would be low or zero (for
example under flame outage conditions). Attachment H lists numerous instances where flares
were reported as smoking, with 100% opacity (smoke so thick that light cannot pass through it).
Attachment I lists numerous instances where the pilot flame was reported to be out.

32
   EPA 1983 Flare Study, p. ii., as discussed in Reducing Flare Emissions from Chemical Plants and Refineries - An
Analysis of Industrial Flares' Contribution to the Gulf Coast Region's Air Pollution Problem, May 23, 2005, Industry
Professionals for Clean Air.
33
   See presentation entitled Reducing Emissions from Plant Flares,” by Industry Professionals for Clean Air –
Houston, slide 9.

                                                        23
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Exxon (and the TCEQ, in their review and acceptance of this assumption) is apparently relying
on federal regulations at 40 CFR 60.18 in support of its 98% CE assumption; nonetheless, this
assumption is factually, scientifically, and fundamentally incorrect. 34                         As explained by
ConocoPhillips in comments to the TCEQ: “The operating parameter efficiency envelopes have
not been developed to account for wind nor the chemical properties of the gases flared nor for
the amount of smoke-suppressing steam employed. Recent studies of hydrogen or inerts in the
flared gases have demonstrated that energy content (Btu/scf) alone is a poor descriptor even
though it is relied upon in the USEPA's 40 CFR 60.18.” 35

In fact, 40 CFR § 60.18, rather than assuring 98% combustion efficiency, invites conditions that
can reduce flare combustion efficiency. The federal New Source Performance Standard (NSPS)
for flares was designed to address "smoking flares," and thus requires flares to be designed and
operated with no visible emissions. Smoke suppression is typically accomplished by injecting
steam or air into the combustion zone to promote turbulence to mix and draw more air into the
flame. An operator typically has no way to judge the proper amount of steam or air to add
during a release, as that depends on many variables that may not be known or cannot be
controlled, such as crosswind velocity. Thus, refineries commonly set the steam-to-flare gas ratio
high to ensure smokeless operation under high flow conditions. This results in high steam-to-gas
ratios during low flow and normal operations and sometimes even during emergency flaring.
Thus, efforts designed to comply with 40 CFR § 60.18 (i.e., to minimize visible emissions) can
actually decrease combustion efficiency.

I also recognize that the TCEQ's own regulations regarding flares that burn highly reactive
VOCs (HRVOCs) assign an assumed 93% destruction efficiency to flares for which continuous

34
   Operating conditions for flares are specified at 40 CFR 60.18(b) through (d); and 40CFR 63.11(b). The rules
require that flares be designed for, and operated with, no visible emissions, except for periods not to exceed a total
of five minutes during any two consecutive hours. In addition, the flare specifications require that the flare must be
operated with a flame present at all times. The presence of a flare pilot flame is to be monitored to ensure that a
flame is present at all times. The minimum net heating value of the flared gas and the maximum exit velocity of
steam-assisted, air-assisted, and non-assisted flares are specified in a table. An equation is provided to calculate the
maximum exit velocity for non-assisted and steam-assisted flares. Additionally, at 40CFR60.18(c)(3)(ii), EPA
specified the minimum net heating value (Btu/scf) of the flared gas to assure flame stability and high destruction
efficiency.
35
   Comment from ConocoPhillips to TCEQ (May 9, 2009) (attachment contains James Seebold et. al., Practical
Implications of Prior Research on Today's Outstanding Flare Emissions Questions and a Research Program to
Answer Them, AFRC-JFRC 2004 Joint International Combustion Symposium).


                                                          24
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monitoring data indicates a failure to meet the EPA's standards for minimum heat content and
maximum exit velocity. 36 But it is not clear why TCEQ did not require, and Exxon did not
calculate, the exit velocities for the various flaring events, as a function of time. Since I did not
have the underlying process data, I could not do this calculation.

In summary, it is telling that a recent survey of flare research noted the following.

“The major variables affecting flare performance are:
      • Composition of flare gas.
      • Flow rate of flare gas.
      • Wind speed.
      • Steam or air rate for assisted flares.
      • Flare tip size.
      • Flare tip design and configuration.
      • Flare tip exit velocity.
      • Pilot stabilization.”37

In addition, the overall maintenance condition of the flare, including all of the its components –
such as the steam-assist ring, the ignition system, etc. – also play a major role in affecting flare
performance.

Yet, in assuming that 98% CE is appropriate at all times, Exxon did not discuss or provide any
analysis of any of these factors.

It is my opinion, based on the discussion above, that using 98% is inappropriate and factually
incorrect and is likely to lead to a significant underestimate of actual emissions during the flaring
events in question.

Given the uncertainties alluded to in the discussion, it is my opinion that a more proper (and still
likely conservative) CE value would be 93%, as noted in the TCEQ regulations for the
destruction of VOCs. As noted above, this figure would still be far too high for instances when
the steam to waste gas ratio is very high (see Attachment G for examples), when the flares were
smoking (see Attachment H for examples), and when there are pilot flame outages (see

36
  See 30 TAC 115.725(d)(7).
37
   “Emissions from Elevated Flares – A Survey of the Literature,” by P. Gogolek, A.Caverly R. Schwartz,
CanmetENERGY- Ottawa John Zink Company LLC, J. Seebold J. Pohl, Consultant Energy International, prepared
for the International Flaring Consortium, April 2010.


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Attachment I for examples).         In addition, while this level could also be too high in other
instances, such as when there are high cross-wind velocities at the flare stack, a default
assumption of 93% would nonetheless be much more realistic than the 98%/99% assumption
used by Exxon. As I have discussed earlier, if one were to use 93% instead of 98% CE, that
means that all emissions estimated by Exxon would have to be increased by a factor of 3.5. For
those pollutants for which Exxon has used a CE of 99%, using 93% instead would increase their
emissions by a factor of 7 times.

The implication of such emissions increases is significant. For example, consider Event 126041
at the refinery. Emissions for this event were calculated using a CE of 98%. 38 Even with this
extremely optimistic assumption, the air dispersion impacts from this event were significant. As
seen in the summary table prepared by SAGE, 39 “maximum” concentrations for butane,
isopentane, and VOCs (as cyclohexane) were already predicted to be well over their respective
standards (i.e., impacts for these pollutants were 192%, 178% and 163%, respectively, of the
respective standards). H2S was predicted to be over 52% of its standard. However, if the actual
CE was just 93% (and not lower still, which is entirely possible), then the emissions used in the
modeling would have to be multiplied by 3.5 times and the resultant concentrations predicted by
the model would also be 3.5 times greater, all other modeling assumptions being the same. Thus,
the ambient air concentration of H2S would be 3.5*52%, or over 182% of the standard. The
concentrations of butane, isopentane, and VOCs would each be more than five times higher than
the standard.

Such revised emission estimates will directly impact the conclusions of all of the modeling
conducted by SAGE using the artificially low Exxon-estimated emissions.

In addition, note that all of the above discussion only affects those pollutants that Exxon has
actually considered, and not those additional PICs that can form in the flare combustion region. I
will discuss that issue in the next section.




38
     See EOMCS00024773
39
     See EOMCS00024786

                                                 26
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V.      PRODUCTS OF INCOMPLETE COMBUSTION FROM FLARING

As discussed earlier, it is inherent in the combustion process that PICs will invariably form.
Even in well controlled situations, involving single fuels, we see evidence of formation of PICs.
For example, EPA noted that “[T]he formation of PICs during incineration processes is strongly
influenced by mixing, which affects the instantaneous values of the reactant concentrations and
of the temperature in the combustion chamber.” 40

EPA’s compilation of emission factors, AP-42, provides additional evidence.                        Even when
burning a simple and “clean” fuel such as natural gas (which is mostly methane), EPA notes that
the following organic compounds can form (since they were not present in the fuel to begin with)
in     the    combustion       process:      2-Methylnaphthalene,          3-Methylchloranthrene,            7,12-
Dimethylbenz(a)anthracene, Acenaphthene, Acenaphthylene, Anthracene, Benz(a)anthracene,
Benzene, Benzo(a)pyrene, Benzo(b)fluoranthene, Benzo(g,h,i)perylene, Benzo(k)fluoranthene,
Butane, Chrysene, Dibenzo(a,h)anthracene, Dichlorobenzene, Ethane, Fluoranthene, Fluorene,
Formaldehyde, Hexane, Indeno(1,2,3-cd)pyrene, Naphthalene, Pentane, Phenanathrene, Propane,
Pyrene, and Toluene. 41 Most of these are highly toxic aromatic or poly-aromatic hydrocarbons.

Burning more complex mixtures will result in many more compounds being created. There is
direct evidence of that as well. In a prior study done by the Petroleum Environmental Research
Forum (PERF), involving gaseous hydrocarbon external combustion, 42 numerous hydrocarbon
compounds were detected and quantified, including: Acetaldehyde, Formaldehyde, Acrolein,
Acetone, Propanal, Methylethylketone, Benzaldehyde, Isopentanal, Pentanal, o-Tolualdehyde,
m-Tolualdehyde, p-Tolualdehyde, Hexanal, Acetylene, Ethylene, Ethane, Propyne, Propane,
Propylene, 1,3-Butadiene, 1-Butene, cis-2-Butene, Butane, 1-Butene, Benzene, Toluene, Hexane,
mp-Xylene, Heptane, Octane, Naphthalene, Acenapthylene, Acenaphthene, Phenanthrene,


40
   http://cfpub.epa.gov/ncer_abstracts/index.cfm/fuseaction/display.abstractDetail/abstract/5761
41
   See AP-41, Table 1.4-3. Available at http://www.epa.gov/ttn/chief/ap42/ch01/final/c01s04.pdf.
42
   19 The Origin and Fate of Toxic Combustion Byproducts in Refinery Heaters: Research to Enable Efficient
Compliance with the Clean Air Act, Petroleum Environmental Research Forum Project 92-19, Final Report,
August 1997; Links:http://www.epa.gov/ttn/atw/iccr/dirss/perfrept.pdf ;
http://www.epa.gov/ttnatw01/iccr/dirss/perfrept.pdf;

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Anthracene, Fluoranthene, Pyrene, Benzo(b)fluoranthene, Benzo(e)pyrene, Indeno(1,2,3-
cd)pyrene, Benzo(g,h,i)perylene, Benzo(a)pyrene, and Coronene.

While Exxon has included some PICs in its estimates, such as 1,3-Butadiene, it has not
accounted for the vast majority of these compounds, nor made a technical case (which it cannot
do) that these and other PICs would be absent in the flare emissions.

Thus, Exxon’s emission estimates are inadequate and flawed in this regard. And, as a result, the
modeling conducted using the Exxon-estimated emissions are also flawed.




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VI.      IMPROPER MODELING ASSUMPTIONS

In this section, I will point out several improper modeling assumptions that make the conclusions
of the modeling performed by Exxon and SAGE (even if one were to assume that all of the other
factors, such as the flawed emission inputs, were correct) unreliable.

I first note that Exxon and its consultants had available to them specific process and flare design
information such as flare geometry (tip diameter, etc.), as well as waste gas flow rates, steam
flow rates, process gas chemical composition, temperatures of the steam and waste gas flows.
Using this information, Exxon and SAGE could have calculated exhaust gas temperatures and
exit velocities, which are both critical input parameters used in the EPA-approved model
(SCREEN Version 3.0) that SAGE used to conduct its impact analysis.

Yet, in every instance (i.e., for every event and for every flare) that I was able to verify, SAGE
used default values for the exit temperature (1273 K) and velocity (20 meter/sec).
Representative examples are shown below.

For event #134509 at the refinery, the excerpt from the SAGE report shows that the exit velocity
for Flare 20 was 20 m/s and the temperature was 1273 K. 43




For event #126041 at the refinery, the excerpt from the SAGE report shows that the exit velocity
for each and every flare involved in that event (i.e., Flares 3, 4, 5, 6, 17, 20 and 21) was 20 m/s
and the temperature of each flare was 1273 K. 44



43
     EOMCS00025947
44
     EOMCS00024799

                                                29
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For event #101998 at the Olefins plant, the excerpt from the SAGE report shows that the exit
velocity for both the primary and the secondary flares involved in that event was 20 m/s and the
temperature was 1273 K. 45




For event #69875 at the Olefins plant, the excerpt from the SAGE report shows that the exit
velocity for both the primary and the secondary flare involved in that event was 20 m/s and the
temperature was 1273 K. 46




45
     EOMCS00008573
46
     EOMCS00007086

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I note that each of these events lasted many hours or, in some cases, many days.

The actual values of these parameters cannot be the same for every flare, or even for one flare
over the course of a single flaring event. The underlying steam and waste gas flows are not
constant, and the composition of the waste gas stream is also not constant – much less the same
for all events at all flares. Thus, right away, we can dispense with the notion that the model was
run to characterize the actual event. On these grounds alone, the predicted results are unreliable.

As support for its use of these parameters SAGE references an older TCEQ guidance
document, 47 which provides these default values.            I note that this guidance is not currently
available on the TCEQ website even though there are more than a hundred other guidance
documents that are similarly available. I am therefore not sure that it is relevant as current
TCEQ guidance. Nonetheless, this document simply states that “[F]lares are a special type of
elevated source that may be modeled as a point source. The technique, to calculate buoyancy
flux for flares generally follows the technique described in the SCREEN3 Model User's Guide
(EPA, 1995b).” Thus, the RG-25 guidance properly references and directs the user to the
SCREEN Model User’s Guide, which is available on EPA’s website. 48

This guidance states that “[T]he SCREEN model calculates plume rise for flares based on an
effective buoyancy flux parameter. An ambient temperature of 293K is assumed in this
calculation and therefore none is input by the user. It is assumed that 55 percent of the total heat
is lost due to radiation. Plume rise is calculated from the top of the flame, assuming that the
flame is bent 45 degrees from the vertical.

“While building downwash is included as an option for flare releases, it should be noted that
SCREEN assumes an effective stack gas exit velocity (vs) of 20 m/s and an effective stack gas
exit temperature (Ts) of 1,273K, and calculates an effective stack diameter based on the heat
release rate. These effective stack parameters are somewhat arbitrary [emphasis added], but
the resulting buoyancy flux estimate is expected to give reasonable final plume rise estimates for

47
   Air Quality Modeling Guidelines, prepared by New Source Review Permits Division, RG-25 (Revised), February
1999.
48
   EPA-454/B-95-004, SCREEN3 Model User's Guide U.S. ENVIRONMENTAL PROTECTION AGENCY, Office
of Air Quality Planning and Standards, Emissions, Monitoring, and Analysis Division, Research Triangle Park,
North Carolina 27711, September 1995, available at http://www.epa.gov/scram001/userg/screen/screen3d.pdf

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flares. However, since building downwash estimates depend on transitional momentum plume
rise and transitional buoyant plume rise calculations, the selection of effective stack parameters
could influence the estimates. Therefore, building downwash estimates should be used with
extra caution for flare releases. If more realistic stack parameters can be determined, then
the estimate could alternatively be made with the point source option of SCREEN. In doing
so, care should be taken to account for the vertical height of the flame in specifying the
release height….” (pp. 15-16) (emphasis added).

In other words, in situations where more realistic stack parameters could have been determined
(as is the case with Exxon’s emission events), it is not necessary to use the arbitrary default
values in the model. Instead, each flare release could have been properly modeled as a point
source, with appropriately calculated release height and exit velocity and temperature values.

It is my opinion that, just on these grounds alone, the modeling conducted by SAGE is not
reliable. Coupled with the greatly underestimated (and incomplete) emission rates used, the
modeled impacts are even more unreliable and likely significantly under-predict the actual
impacts from the various flaring events that at issue.




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VII. REMEDIAL MEASURES

It is possible to significantly reduce instances of flaring and the amounts of waste gas that need
to be flared. Such measures can reduce the emissions that result from flaring from both routine
as well as non-routine events. Most of the refineries in California, both in the Bay Area (San
Francisco) and the South Coast (Los Angeles area) have demonstrated this via the
implementation of specific and detailed Flare Minimization Plans (FMPs), which are required
pursuant to local rules and regulations.

Among other things, each FMP requires a thorough evaluation of each instance when flaring
occurred that resulted in significant emissions. Based on root-cause analyses of such events,
approaches to minimizing or eliminating such instances in the future are then identified. This
may involve capital expenditures such as: the addition of backup waste gas compressors or other
controls such as thermal oxidizers, to eliminate routine flaring; changes to operating procedures;
changes to maintenance procedures, including more frequent maintenance; changes to training
procedures, additional staffing, and the like. It also may include better planning in order to
minimize flaring during scheduled events such as unit turn-arounds.

Fundamentally, flare minimization requires: (a) that events that cause or have caused flaring in
the past be minimized or eliminated to the greatest extent possible by a thorough understanding
of the root causes of these events; and (b) that there be sufficient capacity in the refinery to
accommodate so-called “waste” gases, ideally by re-routing them, to the greatest extent possible,
into other productive uses such as in the facility’s fuel gas system. Thus, the need for adequate
storage capacity and for maximum reliability of the compressors necessary for diversion of flare
gases into the fuel gas system is paramount.

It is my understanding, based on my review of Exxon documents and information gained during
my February 28, 2012, inspection of the Baytown Complex, that for at least 2 of the 5 flare gas
systems at the Baytown complex there is currently no capability for such diversion – i.e., these
systems do not have flare gas recovery capability. It is also my understanding that there is
no/inadequate spare compressor capability for the other 3 systems, thus compromising their
system reliability. These types of gaps can be addressed by proper capital expenditures. Each

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flare gas system should have one main and one 100% backup compressor. Additionally, none of
the flares should be burning a steady stream of waste gas – i.e., there should not be any routine
flaring.   For some of these systems, an appropriately sized thermal oxidizer should be
considered, if these gases cannot be diverted to the fuel gas system.

It is instructive to see how others have minimized flaring. For example, FMPs for each of the
refineries located in the Bay Area are provided in the Bay Area Air Quality Management
District’s (BAAQMD) web site. 49 This includes the Chevron, Conoco-Phillips, Shell, Tesoro,
and Valero refineries. These FMPs are required to be updated annually and each updated FMP
should “…incorporate[] new measures identified to reduce refinery flare emissions by reducing
the frequency and magnitude of flaring events (‘prevention measures’). Prevention measures
identified must address flaring as a result of planned major maintenance, including startup and
shutdown; flaring that may be reasonably expected to occur due to issues of gas quality or
quantity; and flaring caused by recurrent failure of air pollution control equipment, process
equipment, or processes.” 50

As the BAAQMD notes, FMPs should include “any new prevention measures identified as a
result of an investigation into the cause of flaring events that have occurred since the previous
FMP approval. Prevention measures identified must address flaring as a result of planned major
maintenance, including startup and shutdown; flaring that may be reasonably expected to occur
due to issues of gas quantity or quality; and flaring caused by recurrent failure of air pollution
control equipment, process equipment, or processes. The FMP Updates are a key mechanism in
the ground-breaking Flare Regulation to ensure continuous improvement towards minimizing
flaring from the five Bay Area refineries by reducing the frequency and magnitude of flaring.” 51

The seven Los Angeles area refineries are also required to monitor their flaring emissions and to
report flaring events when they exceed prescribed pollutant emissions or gas flow rates. 52 This
includes the ExxonMobil refinery located in the City of Torrance. 53 It is worth noting that this
refinery was not required to develop a FMP because “[T]his plan is only required if the facility

49
   http://www.baaqmd.gov/Divisions/Compliance-and-Enforcement/Refinery-Flare-Monitoring/Flare-
Minimization.aspx
50
   Ibid.
51
   http://www.baaqmd.gov/Divisions/Compliance-and-Enforcement/Refinery-Flare-Monitoring.aspx
52
   http://www.aqmd.gov/comply/1118/notification.htm
53
   http://www.aqmd.gov/comply/1118/exxon.htm

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exceeds the specific targets in any calendar year.” Thus, since ExxonMobil did not exceed such
targets – i.e., it was able to voluntarily implement measures to minimize flaring at this refinery –
it did not have to submit such a plan. Although smaller than the Baytown refinery, the Torrance
refinery is of roughly comparable age. I am not aware of any reason why approaches that Exxon
is using at its Torrance refinery to minimize flaring could not be considered and implemented at
the Baytown Complex.




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